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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Scientel Solutions, LLC
                                  Plaintiff,
v.                                                    Case No.: 1:17−cv−00937
                                                      Honorable Joan B. Gottschall
Richard Seiff
                                  Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 7, 2017:


       MINUTE entry before the Honorable Joan B. Gottschall: Plaintiff's motion for a
temporary restraining order (ECF No. [7]) is denied to the extent it seeks ex parte relief. A
hearing on Plaintiff's motion for a temporary restraining order and motion to seal is set for
February 8, 2017, at 10:00 a.m. Plaintiff may maintain its memorandum and exhibits
under seal until that hearing. Plaintiff must give the defendant notice of its emergency
motion and the hearing and file an appropriate certificate of service. [See Separate Order].
Mailed notice(mjc, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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